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ACTS OF ASSEMBLY. 535.

10 granting of the license until satisfactory proof is produced that
both applicants are “white pee ns es for in this act.

_ The clerk or deputy clerk shall use the same care to assure himself
that both applicants are colored, when that fact is claimed.
ef, aan Le hail hereafter be unlawful for any white person in this State
Bi PoTeca aa ny, eats ® White Dataany OF & peron with no other admixture
ai of blood than white and American Indian, For the pu of this act,
the term “white person’ shall apply only to the person who has no trace :
whatsoever af blood other than Caucasian; but persons who have a
one-sixteenth or of the blood of the American Indian and have no Ae
other non-Cauecasic blood shall be deemed to be white persons. All 4
laws heretofore passed and now in effect regarding the intermarriage
eerie and colored persons shall apply to marriages prohibited by this
act.

6. For carrying out the purposes of this act and to provide the ee
necessary clerical assistance, postage and other expenses of the State ‘a
registrar of vital statistics, twenty per cent of the fees received by an
local registrars under this act shall be paid to the State bureau of vital
eee eticl may be expended by the said bureau for the purposes
* 7. All acts or paris of acts inconsistent with this act are, to the
extent of such inconsistency, hereby repealed, :

nar, 372,—An ACT to amend and re-enact section 46 of the Code of Virginia,
which is inchapter 7 of enid Code relating to church property, benevolent ns- “Tt
sociations and objects, [8 B a22] Za
Approved Mareh 20, 14.

1. Be it enacted by the general assembly of Virginia, That section
fort a the Code of Virginia, be amended and re-enacted so as to
anes allows:

Section 46. Proceeding by trustees for similar purposes—The
trustees of such congregation, or chureh or religious denomination, or
| society or branch or division thereof, in whom is vested the legal title
F to such land held for any of the pat poes mentioned in section thirty-
; eight, may file their petition in the circuit court of the county or the = = =
circuit or corporation court of the city wherein the land, or the greater ae
part thereof held by them as trustees, lies, or before the judge of said =
eourt in vacation asking leave to sell, encumber, or exch the an
land, or a part thereof; and upon evidence being uced before the =
i court, or the judge thereof in vacation, that it is the wish of said con-
tion, or church or religious denomination or society, or branch or
ivision thereof, or the constituted authorities thereof having jurisdic-
tion in the premises, to sell, exchange, or encumber the said property,
Pe: the court, or the judge thereof in vacation, shall make such order as
E may be proper, providing for the sale of such land, or a part, or that the
; game may be Sree ae We and in case of sale, for the
proper investment of t ; en any such religious congre-
hate has become extinct or has ceased to oceupy said property as a
place of worship, so that it may be regarded as abandoned property, the
petition may be preseribed either by the surviving trustee or trustecs,

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